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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT
                                                                    JUDGMENT IN A CRIMINAL CASE
UNITED STATES OF AMERICA
      v.                                                            CASE NO. 3:04CR00367 (PCD)
JOHN G. ROWLAND                                                     Nora Dannehy , AUSA
15 Mountain Farms Road                                              U.S. Attorney’s Office
West Hartford, CT 06117                                             William F. Dow, III, Esq.
                                                                    Defendant's Attorney

The defendant pled guilty to count 1 after a plea of not guilty. Accordingly, the defendant is adjudged guilty of count 1,
which involves the following offense:

Title & Section: Title 18, U.S.C. Section 371                       Count: 1
Nature of Offense: Conspiracy to Defaud the United States
Date Offense Concluded: 10/03

The sentence is im posed pursuant to the Sentencing Reform Act of 1984.

The defendant is hereby com m itted to the custody of the United States Attorney General or his duly authorized
representative to be im prisoned for a term of: 12 months and one (1) day. Upon release from custody, the defendant
shall be on supervised release for a term of 3 years. The court recom m ends to the Bureau of Prisons: that defendant be
incarcerated at Fort Devens FCI, Cam p in Massachusetts. The defendant shall voluntarily surrender to the U.S. Marshal
for this district, or at such other tim e and place as designated by the Bureau of Prisons on April 1, 2005 by 12:00 noon.

Special Conditions of Supervised Release include: Defendant is confined to his home for a period of 4 months w ith
electronic monitoring at the discretion of the U.S. Probation Office (USPO); during the period of home arrest the
defendant shall be home at all tim es except for employm ent, religious obligations, medical attention, family
necessity and community service. Defendant shall engage in no social activities with the exception of those
exclusively family oriented; defendant shall perform community service for a period of 3 hours per week for 2
years for a total of 300 hours; shall obtain and maintain full em ployment; shall make resolution of any tax liability
to Government.
The defendant shall be fined in 2 segments and shall come out of his Self Employed Pension Fund as follow s:
1. $72,000.00 to be paid to the State of Connecticut as disgorgement of the gratuities unlaw fully received and
2. $10,000.00 to be paid w ithin 6 months.
This sentence is regarded as a non-guideline sentence although the guideline calculation was considered with all
relevant factors to achieve the purposes of 18 U.S.C. Section 3553. If regarded as a departure from the guidelines
the Court’s reasons are SSG Section 5K2.0, extraordinary civic/public service (5H1.1) and family ties and
responsibilities (5H1.6) and the impact of his loss of the governorship and destruction of his career which
contribute to the achievement of the purposes of sentencing 18 U.S.C. Section 3553 and have not been fully
considered as they pertain to this case.
It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change
of nam e, residence, or m ailing address until all fines, restitution, costs and special assessm ents im posed by this judgm ent
are fully paid.

In addition to the special conditions of supervised release im posed above, it is hereby ordered that the conditions of
supervised release set out on the reverse side are im posed.

It is ordered that the defendant shall pay a Special Assessm ent of $100.00, for count 1 which shall be due immediately.

                                                           M arch 18, 2005
                                                           Date of Im position of Sentence

                                                           /s/
                                                           Peter C. Dorsey, United States District Judge
                                                           Date: M arch 18, 2005
CERTIFIED AS A TRUE COPY
ON THIS DATE ___________
Kevin F. Row e, Clerk
BY:
     Deputy Clerk
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                                       CONDITIONS OF SUPERVISED RELEASE
In addition to the Standard Conditions listed below, the following indicated ( O ) Mandatory Conditions are imposed:
                                                                MANDATORY CONDITIONS
 (1)       The defendant shall not commit another federal, state or local offense;
Q (2)       The defendant shall not unlawfully possess a controlled substance;
Q (3)       The defendant who is convicted for a domestic violence crime as defined in 18 U.S.C. section 3561(b) for the first time shall attend a public,
            private, or private non-profit offender rehabilitation program that has been approved by the court, in consultation with a State Coalition
            Against Domestic Violence or other appropriate experts, if an approved program is available within a 50-mile radius of the legal residence of
            the defendant;
Q (4)       The defendant shall refrain from any unlawful use of a controlled substance and submit to one drug test within 15 days of release on
            supervised release and at least two periodic drug tests thereafter for use of a controlled substance;
 (5)       If a fine is imposed and has not been paid upon release to supervised release, the defendant shall adhere to an installment schedule to pay
            that fine;
Q (6)       The defendant shall (A) make restitution in accordance with 18 U.S.C. sections 2248, 2259, 2264, 2327, 3663, 3663A, and 3664; and (B)
            pay the assessment imposed in accordance with 18 U.S.C. section 3013;
Q (7)       A defendant convicted of a sexual offense as described in 18 U.S.C. sections 4042(c)(4) shall report the address where the defendant will
            reside and any subsequent change of residence to the probation officer responsible for supervision, and shall register as a sex offender in any
            State where the person resides, is employed, carries on a vocation or is a student.
Q     (8)   The defendant cooperate in the collection of a DNA sample from the defendant.
W hile on supervised release, the defendant shall also comply w ith all of the follow ing Standard Conditions:
                                                               STANDARD CONDITIONS
(1)         The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation officer;
(2)         The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and complete
            written report within the first five days of each month;
(3)         The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
(4)         The defendant shall support the defendant’s dependents and meet other family responsibilities (including, but not limited to, complying with
            the terms of any court order or administrative process pursuant to the law of a state, the District of Columbia, or any other possession or
            territory of the United States requiring payments by the defendant for the support and maintenance of any child or of a child and the parent
            with whom the child is living);
(5)         The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
(6)         The defendant shall notify the probation officer at least ten days prior to any change of residence or employment;
(7)         The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician;
(8)         The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered, or other places
            specified by the court;
(9)         The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
            unless granted permission to do so by the probation officer;
(10)        The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view by the probation officer;
(11)        The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
(12)        The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
            of the court;
(13)        The defendant shall pay the special assessment imposed or adhere to a court-ordered installment schedule for the payment of the special
            assessment;
(14)        The defendant shall notify the probation officer of any material change in the defendant’s economic circumstances that might affect the
            defendant’s ability to pay any unpaid amount of restitution, fines, or special assessments.


The defendant shall also report to the Probation Office in the district to w hich the defendant is released within 72 hours of release from the
custody of the U.S. Bureau of Prisons.

                                      RETURN

I have executed this judgment as follows:

______________________________________________________________________________________________________

______________________________________________________________________________________________________

_____________________________

Defendant delivered on _______________________to _________________________________

at__________________________________, with a certified copy of this judgment.


_________________________
John F. Bardelli
United States Marshal


By:_______________________
  Deputy M arshal
